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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

RONELL WILLIAMS,                   :
    Plaintiff                      :
                                   :            No. 1:21-cv-114
          v.                       :
                                   :            (Judge Rambo)
JOHN WETZEL, et al.,               :
    Defendants                     :

                               ORDER
     AND NOW, on this 3rd day of November 2021, for the reasons set forth in

the Memorandum accompanying this Order, IT IS ORDERED THAT:

     1.   Defendant Mayer’s motion to dismiss (Doc. No. 31) and amended
          motion to dismiss and/or for summary judgment (Doc. No. 37) are
          GRANTED;

     2.   Defendant Pepper’s motion for summary judgment (Doc. No. 34) is
          GRANTED;

     3.   The Clerk of Court is directed to enter judgment in favor of Defendants
          Mayer and Dr. Larry Pepper and against Plaintiff Ronell Williams; and

     4.   The Clerk of Court is directed to CLOSE the above-captioned action.

                                          s/ Sylvia H. Rambo
                                          United States District Judge
